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1?

4e

                                        IN THE UNITED STATES DISTRICT GOURT
14

4A                                          FOR THE DISTRIGT OF NEW MEXICO

l$         Margarita Chavez, an individual,                 NO.
           Dustin Potter, an individual,
17


1S                                                          COMPLAINT
.to
          V.

?0                                                          DEMAND FOR JURY TRIAL
          JBS Tolleson, lnc., an Arizona
tt        corporation, JBS USA Food Company,
          a Delaware corporation,

/),)
                                          Defendants.

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?5
                  Plaintiffs, by and through their attorneys undersigned, and for their clainns

t0       against the Defendants, allege as follows:
:7

ls

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     1
                                                            PARTIES
     2
                   1.     Plaintiff Margarita Chavez resides and is domiciled in Clovis, Curry County,
     I
                          New Mexico. Plaintiff is a citizen of the State of New Mexico.
     4

                   2.     Plaintiff Dustin Potter resides and is domiciled in Clovis, Curry County, New

     6                    Mexico. Plaintiff is a citizen of the State of New Mexico.
     t
                  3.      Defendant JBS Tolleson, lnc., is a corporation incorporated in and existing
 I
                          under the laws of the State of Arizona with its principal office located in
 o


10                        Phoenix, Arizona. At all material times, JBS Tolleson, lnc. was in the business

11                        of manufacturing and selling tood products, including, without timitation, the
1?
                          manufacture and subsequent sale of ground beef products. At all rnaterial
13
                          times, Defendant JBS Tolleson, lnc. engaged in substantial, continuous and
14

4A                        systematic contacts within the State of New Mexico, and purposefully directed

1S                        its activities to New Mexico, including the placement of its goods into the
4Y
t,
                          stream of commerce with the intent and expectation they would be purchased
1S

                          by consumers in New Mexico.
tv

tu                4.      Defendant JBS USA Food Company is a corporation incorporated in and

?1                        organized under the laws of the State of Delaware with its principal place of
22
                          business located in Littleton, Colorado. At all material times, Defendant JBS
?3
                          USA Food Company was in the business of manufacturing and selling food
24


25i
         l
                         products, including, without limitation, the manufacture and subsequent sale
         I


         I


l0       I               of ground beef products. At all material times, Defendant JBS USA Food
:?
                         Company engaged in substantial, continuous and systematic contacts within
?s


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     1
                     the State of New Mexico, and purposefully directed its activities to New
     ?
                     Mexico, including the placement of its goods into the stream of commerce with
     J
                     the intent and expectation they would be purchased by consumers in New
     4

                     Mexico.

     s                                               JURISDICTION AND VENUE
     7
              5.     This Court has jurisdiction over the subject matter of this action pursuant to 28
     $
                     U.S.C. S 1332(a) because the matter in controversy exceeds $75,000.00,
     v

10
                     exclusive of costs, it is between citizens of different states, and because the

1't                  Defendant has certain minimum contacts with the State of New Mexico such
1?
                     that maintenance of the suit in this district does not offend traditional notions
13
                     of fair play and substantialjustice.
14

              o.     Venue in the United States District Court for the District of New Mexico is

1S                   proper pursuant to 28 U.S.C. S 1391(bX2) because a substantial part of the
17
                     events or omissions giving rise to the claim occurred in this district.
18
                                                         GENERAL ALLEGATIONS
1S


?n                                    The 2018 JBS Salmonella Newport Outbreak

?1            7.     ln fall of 2018, CDC, public health and regulatory officials in several states,

                     and the U.S. Department of Agriculture's Food Safety and lnspection Service
4.)
t,
                     (USDA-FSIS) investigated                 a   multistate outbreak of   Sa/mo nella Newport
?4

?fi                  infections. Public health investigators used the PulseNet system to identify

                     illnesses that may have been part of this outbreak.
27


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     1
               8.     DNA fingerprinting was performed on Sa/monella bacteria isolated frorn         ill

     ?.
                      people by using techniques called pulsed-field gel electrophoresis (PFGE)
     3

                      and whole genome sequencing (WGS). CDC PulseNet manages a national
     4

     5
                      database of these DNA fingerprints to identify possible outbreaks. WGS gives

     6                a more detailed DNA fingerprint than PFGE. WGS performed on bacteria
     7
                      isolated from ill people showed that they were closely relatedly genetically.
     s
                      This means that people in this outbreak were more likely to share a common
     I
.t   t\               source of infection.

11             9.     As of March 21,2019,403 people infected with the outbreak                strain
4'.)
                      of Salmonel/a Newport were reported from 30 states. lllnesses started on
4,

                      dates ranging from August 5, 2018 to February 8, 2A19. lll people ranged in
14


16                    age from less than one year to 99, with a median age of 42. Forty-nine percent

1S                    were male. Of 340 people with information available, 117 (34%) were
U
                      hospitalized. No deaths were reported.
1S

.10
               10. State and local health departments asked      ill people questions about the foods

t0                    they ate and other exposures in the week before they became ill. Of 277

?1                    people interviewed, 237 (86%) reported eating ground beef at home. This
??
                      percentage is significantly higher than results from a survey of healthy people
fi
                      in which 40% of respondents reported eating any ground beef at home in the
?4


ti)
                      week before they were interviewed. Also, several unrelated ill people ate

?s                    ground beef at the same events or purchased ground beef at the same grocery
t)1



?s


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     1
                     store chains, suggesting that the contaminated food item was served or sold
  I
                     at those locations.
  3
              11. Officials       in Arizona and Nevada collected opened and unopened packages of
  4

  {                  ground beef from                  ill   people's homes. Officials also collected unopened

  0                  packages         of    ground beef from retail locations. The outbreak              strain
  7
                     of Salmonel/a Newport was identified in the ground beef. Whole genome
  s
                     sequencing showed that the Salmonella identified in the ground beef was
  *

10
                     closely related genetically to the Salmonella in samples from ill people. USDA-

11                   FSIS and state partners traced the source of the ground beef eaten by ill
1?
                     people in this outbreak to JBS Tolleson, lnc.
 IJ
              12. On October 4, 2018, JBS Tolleson, lnc. recalled approximately 6.5 million
14

                     pounds of beef products that may be contaminated with Sa/monella Newport.

1$                   On December 4,2018, JBS Tolleson, lnc. recalled an additional 5.2 million
t9
tt
                     pounds of beef products.
1&

              13. The Tolleson facility, in operation for about 45 years, processes meat under
4Cr




IU
                    various brands including 5 Star Beef, Cedar River Farms, Showcase, La

?l                   Herencia, Four Star, and Clear River. A July 2017 notice from the USDA's
.).1

                     Food Safety and lnspection Service accused the Tolleson facility's president
?3
                    of enabling "egregious" and "inhumane" practices with livestock. Officials
?4

?ri                 found two "mentally incoherent" cows laying on their side and "moaning as if

co                  in pain." The inspector asked for the cows to be euthanized but one died in its

                    pen before it could be put down. According to an October 2017 agency
?s


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     1
                      document, the USDA inspectors deferred action against JBS Tolleson and
     ?
                      gave them a chance to implernent a proposed action plan.
     .)


               14. The 2018 recall announcement came more than                   a year after the   U.S.
     4

                      Department of Agriculture sent the enforcement notice to the company's

     t]               president and months after one of the company's plants in North Carolina
     7
                      recalled 35,000 pounds of raw ground beef.
     s
                                                         Salmonella lnfections
     0


10
               15. Salmonella is an enteric bacterium, which means that it lives in the intestinal
't'l
                      tracts     of    humans and other animals. Salmonella bacteria are usually
1?
                      transmitted to humans by eating foods contaminated with human or animal
13

l/
                      feces. Contaminated foods usually look and smell normal. Contaminated
 l.*


1$
                      foods are often of animal origin, but all foods, including vegetables, may

1$                    become contaminated. An infected food handler who neglects to wash his or
17
                      her hands with soap and warm water after using the bathroom may also
1B

                      contaminate food.
1S


9n             16. Once in the lumen of the small intestine, the bacteria penetrate the epithelium,
21                    multiply, and enter the blood within 24-72 hours. As few as 15-20 cells of
tt
                      Salmonella bacteria can cause salmonellosis or a more serious typhoid-like
?3
                      fever. Variables, such as the health and age of the host and virulence
24


?$
                      differences among the serotypes, affect the nature and extent of the illness.

?6                    lnfants, elderly, hospitalized, and immune suppressed persons are the
tt

28


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      1                populations that are most susceptible to disease and suffer the most severe
     ?
                       symptoms.
     t
                17. The acute symptoms of Salmonella gastroenteritis include the sudden onset
     4


     c
                       of nausea, abdominal cramping, and diarrhea lasting several days. The
     s                 diarrhea often turns bloody. There is no real cure for Salmonella infection,
     Y
                       except treatment of the symptoms. Persons with severe diarrhea may require
     s
                       rehydration, often with intravenous fluids.
     0


4a\            18. Persons with diarrhea usually recover completely, although it may be several
11                     months before bowel habits return entirely to normal.                    A small number of
 IL
                       persons who are infected with Salmonella will go on to develop pains in their
4a

                      joints, irritation of the eyes, and painful urination. This development is called
14


1$
                       Reiter's syndrome or reactive arthritis, and it can last for months or years,

1S                    sometimes leading                   to chronic arthritis that is difficult to treat.   Antibiotic
17
                      treatment does not make a difference in whether the person later develops
1S

                      arthritis.
1S


?0
                                               Plaintiff Margarita Chavez's lnjuries
t_t            19. Plaintiff Margarita Chavez purchased ground beef manufactured                                     by
71
                      Defendants from the Walmart located at 3728 N. Prince St. in Clovis, New
9t
                      Mexico on September 2,2018.
?4

NA             20. Plaintiff Margarita Chavez consumed this ground beef for breakfast the
4d;
                      following day, September 3, 2018.
tt

?s


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     1         21. The following Saturday, September                    9, 2018, Plaintiff Margarita   Chavez
     ;
                      experienced the onset of her Salmonella infection when she started to feel
     3
                      queasy. By the next day, she had developed severe abdominal pain, diarrhea,
  4

     6               fever, and vomiting.

  s           22.     Plaintiff Margarita Chavez sought medical care that same day, September 10,
  7
                      2018, at the ExpressCare in Clovis, New Mexico.
  B


  0
              23. Given the severity                    of her condition, medical personnel at   ExpressCare

10
                     recommended Plaintiff Margarita Chavez go to the hospital. Plaintiff then went

11                   to Plains Regional Medical Center in CIovis, New Mexico.
4a
              24. Plaintiff Margarita Chavez remained hospitalized until September 17, 2018.
13
                     while in the hospital, Plaintiff's stool tested positive for Salmonelta.
14


1S
              25. Further confirmatory testing at the New Mexico Scientific Laboratory Division
1S                   indicated that Plaintiff Margarita Chavez was a confirmed case in the 2018
.{Y
tt
                     Salmonella Newport outbreak linked to JBS Tolleson ground beef (Outbreak
1S

.10
                     code: 1808MLJJP-2).

?fl           26. Once discharged from the hospital, Plaintiff Margarita Chavez continued                    to
44
It                   have follow-up appointments as she continued to recover from her Salmonella
22
                     infection. Her symptoms continued wel! into October 201A.
23

,n
                                                 Plaintiff Dustin Potter's lnjuries
AN



*$
              27.    Plaintiff Dustin Potter consumed some of the ground beef prepared by Plaintiff

l0                   Margarita Chavez on September 3, 2018.
27


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   1
              28. On or about September 14,2018, Plaintiff Dustin Potter began experiencing
   ?
                     abdominal pain, cramping, and fatigue.
   1t



              29. He eventually developed bloody diarrhea and sought medical attention             on
   4


   $
                     September 26,2018 at Plains Regional Hospital.

   0          30. A stool sample collected while Plaintiff Dustin Potter was   at the hospital tested
   7
                     positive for Salmonella.
   h
   ()


   &
              31. Further testing at the New Mexico Scientific Laboratory Division indicated
.ln                  Plaintiff Dustin Potter was a confirmed case in the 2018 Salmonella Newport

11                   outbreak linked to JBS Tolleson ground beef.
14
l4
              32. Plaintiff Dustin Potter had a follow-up appointment after his hospital visit as he

{n
                     recovered from his Salmonella infection. He continued to have a sensitive
 I &t.




,IA                  stomach and acid reflux through January 2019 and still feels his digestive

1fi                  system has not returned to normal.
17
                                                              CLAIM ONE
ls                                                          STRIGT LIABILITY
1$
             33. Plalntiffs reallege and incorporate each and every allegation contained in
?0
                     paragraphs 1 through 32, above, as though set forth fully herein.
?1


44
              34. Defendants manufactured and sold the adulterated food product, ground        beef,
{L

?t                  that injured Plaintiff.
?4           35. Defendants manufactured food products, and ground beef in particular, for
                    sale to the public.
?A


,"1
             36. Ground beef that is contaminated with Sa/monella is unsafe and thus defective

28                  when used in a reasonably foreseeable manner-i.e., consuming it.

         Chavez & Pottert{.   "lBi Tolleson. lnc.. ef aI.                                    Complaint
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     1
                37.     Salmonella-contaminated ground beef is unfit for human consumption, and
     ?,
                       poses an unreasonable risk of injury to consumers because reasonably
     t
                       prudent persons, having full knowledge of the risk, would find the risk
     4


     5
                       unacceptable.

     0         38.     The ground beef that Plaintiffs purchased and consumed from Defendants was
     7
                       contaminated with Salmonella and was therefore, as a result, defective and
     I
                       unreasonably dangerous.
     I
10
               39. The ground beef Plaintiffs purchased and consumed was contaminated with
It
 tt                    Salmonella when it left the control of Defendants.
4q
lt"
               40. Plaintiffs' consumption of the contaminated ground beef caused them               to
13
                       become infected with Sa/monella and suffer injury as a direct and proximate
14


1$
                       result.

16             41. Defendants are strictly liable to Plaintiffs for the harm proximately caused by
17
                      the manufacture and sale of unsafe and defective ground beef.
1B

                                                     CLAIM TWO
19
                                          NEGLIGENGE AND NEGLIGENCE PER SE
:0
               42. Plaintiffs        reallege and incorporates each and every allegation contained in
21


91
                      paragraphs 1 through 42, above, as though set forth fully herein.

IJ             43. Defendants designed, manufactured, distributed, and sold ground beef that
?4                    was contaminated with Sa/m onella, a harmful pathogen.
zb
               44.    Defendants owed a duty to all persons who consumed their products, including
?$

                      Plaintiffs, to manufacture and sell ground beef that was safe to eat, that was
27


2B


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     1
                      not adulterated with harmful pathogens, like Salmonella, and that were not in
  2
                     violation of applicable food and safety regulations.
  3

               45. Defendants breached the duties owed to the ultimate consumers of their
  4

                     ground beef products by committing the following acts and omissions of

  s                  negligence:
  7
                     .     Failure to adequately maintain or monitor the sanitary conditions of their
  s                        products, premises, equipment and employees;
  0
                     o     Failure to properly operate their facilities and equipment in a safe, clean,
'10                        and sanitary manner;

44
t,                   o     Failure to apply their food safety policies and procedures to ensure the
                           safety and sanitary conditions of their food products, premises, and
12
                           erhployees;
13
                     o     Failure to apply food safety policies and procedures that met industry
14                         standards for the safe and sanitary productlon of food products, and the
                           safety and sanitary condition of their premises and employees;
1$


1S
                     o     Failure to prevent the transmission of Salmonella to consumers of their
                           ground beef;
17
                     .     Failure to properly train their employees and agents how to prevent the
1B
                           transmission of Salmonella on their premises, from their facilities or
{o                         equipment, or in their food products;

20                   o     Failure to properly supervise their employees and agents to prevent the
                           transmission of Salmonella on their premises, from their facility or
21
                           equipment, or in their food products.
2?.
              46. Defendants had a duty to comply with all statutes, laws, regulations, or safety
te
                     codes pertaining to the manufacture, distribution, storage, and sale of their
t4

25
                     ground beef, but failed to do so, and were therefore negligent. Plaintiffs were

eu                   among the class of persons designed to be protected by these statutes, laws,


?B


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      1
                       regulations, safety codes                     or   provisions pertaining   to the manufacture,
     2
                       distribution, storage, and sale of similar food products.
     3

               47. Defendants owed to all persons who consumed their ground beef a duty to
     4

     6                 maintain their premises in a sanitary and safe condition so that the ground beef

     s                 they manufactured and sold would not be contaminated with                            a   harmful
     7
                       pathogen, like Sa/monella.
     s

     {}
                48. Defendants              owed          a   duty   to   Plaintiffs   to use reasonable care in     the

 10                    manufacture, distribution, and sale                       of their food products to      prevent

 11                    contamination with Sa/monella. Defendants breached this duty.
 44
 t/,
               49. Plaintiffs' injuries proximately and directly resulted from the negligence of
.tt


14
                       Defendants, and from these Defendants' violations                           of statutes, laws,
 t?
                       regulations, and safety codes pertaining to the manufacture, distribution,

 IQ                   storage, and sale of food.
17
                                                              CLAIM THREE
1{1                                                       BREACH OF WARRANTY
1$
               50. Plaintiffs reallege              and incorporate each and every allegation contained                in
l{)
                      paragraphs 1 through 50, above, as though set forth fully herein.
t1
               51. By offering ground beef for sale to the general public, Defendants impliedly
22

,t                    warranted that such ground beef was safe to eat, that it was not adulterated

34
                      with a harmful pathogen, and that the ground beef had been safely prepared

                      under sanitary conditions.
Lu

               52. Defendant breached the implied warranties with regard to the ground beef they
?7

?,R                   manufactured and sold to Plaintiffs.

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      1
                    53. Plaintiffs' injuries proximately and directly resulted from Defendants'breach of
     ?
                            implied warranties, and Plaintiffs are thus entitled to recover for all actual,
     t
                           consequential, and incidental damages that flow directly and in a foreseeable
     4

     6                     fashion from these breaches.

                                                                  DAMAGES
     7
                    54. Plaintiffs reallege and lncorporate each and every allegation contained in
     I
                           paragraphs 1 through 53, above, as though set forth fully herein.
     0


 IU
                    55. As the direct and proximate result of the Defendants' acts and omissions,
 11                        Plaintiffs suffered and are entitled to recover compensation for damages
 12
                           including medical expenses both past and future, pain and suffering,
 13
                           disfigurement, the loss of enjoyment of his life, lost wages and lost earning
14

1A                         capacity, loss of consortium damages and               other damages as would be
1S                         anticipated to arise under the circumstances, which shall be fully proven at the
17
                           time of trial.
1B

.t0
                                                              PRAYER FOR RELIEF

loi WHEREFORE, Plaintiffs pray as follows:
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          l



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          i

          I        1.     That the Court award Plaintiffs judgment against Defendants to fully and fairly
2:
                          compensate Plaintiffs for all general, special, incidental, and consequential
ia
{J
                          damages incurred, or to be incurred, by Plaintiff as the direct and proximate
4l


                          result of the acts and omissions of Defendants.

t0                 2.     That the Court award all such other sums as shall be determined to fully and
tt
                          fairly compensate Plaintiffs for all general, special, incidental              and
4S
4A


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      1
                           consequential damages incurred, or to be incurred, by Plaintiffs as the direct
      2
                           and proximate result of the acts and omissions of Defendants;


      4
                    3.     That the Court award Plaintiffs their costs, disbursements, and reasonable

      5
                           attorneys' fees incurred;

  n                 4.     That the Court award Plaintiffs the opportunity to amend or modify the
  7
                           provisions of this Complaint as necessary or appropriate after additional or
  s
                           further discovery is completed in this matter, and after all appropriate parties

 1S
                           have been served;

 11
                    5.     That the Court award such other and further relief as it deems necessary and
 12
                           proper in the circumstances.
 13

                                                              JURY DEMAND
 14


 1S
                         Plaintiffs demand a trial by jury on all issues so triable with the maximum number

'ts
              of jurors permitted by law.
n\
tt

1B                      RESPECTFULLY                 suBMlrrED this lstday of september 2021.
10

9{\                                                                  HARMON, BARNETT & MORRIS, PC

21


22
                                                                     /s/ Tye Harmon
                                                                     Tye Harmon
LJ                                                                   1 19 S. Main St.
                                                                     Clovis, New Mexico 88101
24,

25        I



                                                                     O'STEEN & HARRISON, PLC
e10
                                                                     Jonathan V. O'Steen
*7
                                                                     Lincoln Combs

?{}                                                                  Attorneys for Plaintiffs
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                                                                       CERTIFICATE OF SERVICE

                I hereby certify that on the 1'* day of September 2021, I electronically transmitted the
                attached document to the Clerk's Office using the CM/ECF System for filing.

               /V_l-ye Harmon


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